          Case 1:12-cr-00342-DAD-BAM Document 148 Filed 04/20/15 Page 1 of 1



 1

 2

 3
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 4
                             EASTERN DISTRICT OF CALIFORNIA
 5

 6                                         ) Case No 1:12-cr-00342-AWI-BAM-3
     UNITED STATES OF AMERICA,             )
 7                                         ) ORDER EXTENDING SELF-SURRENDER
                  Plaintiff,               ) DATE
 8                                         )
           vs.                             )
 9                                         )
     SAM KOUNHAVONG,                       )
10                                         )
                  Defendant.               )
11

12
           The above named defendant was sentenced on September 8,
13
     2014 to a term of 24 months in custody.        For the purposes of
14
     obtaining and reviewing medical records, and to ensure the
15
     defendant will have adequate medical care while incarcerated,
16
           IT IS HEREBY ORDERED that the defendant’s previously
17
     ordered self-surrender date of April 20, 2015, is delayed until
18
     April 27, 2015. All other orders regarding sentencing remain in
19
     full force and effect.
20

21

22   IT IS SO ORDERED.

23   Dated: April 20, 2015
                                        SENIOR DISTRICT JUDGE
24

25

26

27

28
